 1
 2
 3
 4
 5
 6
 7                             UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA
 9                                     WESTERN DIVISION
10
11   ______________________________________
                                           )           Case No. ED CV 14-01413-VBF-E
12   MICHAEL WALDEN SMITH,                 )
                                           )           ORDER
13                                         )
                       Plaintiff,          )           Adopting the Report & Recommendation:
14                                         )           Granting Document Nos. 114, 141, and 145;
                 v.                        )
15                                         )           Denying Document #117 As Moot;
                                           )           Denying Document #148 as Moot;
16   TANI CANTIL-SAKAUYE et al.,           )
                                           )           Dismissing the Action;
17                     Defendants.         )
                                           )           Terminating and Closing the Case (JS-6)
18   _______________________________________
19
            Pursuant to his authority under Fed. R. Civ. P. 72(b)(1), title 28 U.S.C. section
20
     636(b)(1)(B), and C.D. Cal. Local Civil Rule 72-3.3, the United States Magistrate Judge
21
     issued a Report and Recommendation (“R&R”) on November 20, 2017. Pursuant to 28
22
     U.S.C. § 636(b)(1), the Court has reviewed the Fourth Amended Complaint, all of the records
23
     herein, the attached R&R of the Magistrate Judge, and the applicable law. On either clear-
24
     error or de novo review, the Court finds no defect of law, fact, or logic in the R&R.
25
     Therefore the Court will adopt the R&R and implement its recommendations.
26
27
28                                               -1-
 1                                            ORDER
 2         The November 20, 2017 Report and Recommendation [Doc # 160] is ADOPTED.
 3         The motion for leave to file a First Amended Answer filed by defendants Tani Cantil-
 4   Sakauye and Martin N. Hoshino [Doc #114] is GRANTED.
 5         The motion for summary judgment filed by defendants Tani Cantil-Sakauye and Martin N.
 6   Hoshino on September 5, 2017 [Doc #135] is GRANTED.
 7         Plaintiff’s September 7, 2017 “Request to File Document Two Days Past File Date Due to
 8   Mix-Up” [Doc #141] is GRANTED.
 9
10         Plaintiff’s August 11, 2017 “Ex Parte Request to Continue Case 30 Days Due to Time
11   Required to Complete Deposition of Chief Justice” [Doc #117] is DENIED as moot.
12         Plaintiff’s October 11, 2017 “Ex Parte Request to Continue Case Four Days Due to
13   Difficulties” [Doc #148] is DENIED as moot.
14
15         The Court will enter judgment by separate document.
16         This action is DISMISSED.
17         The case SHALL BE TERMINATED and closed (JS-6).
18
19
20   Dated: January 8, 2018                              _________________________________
21                                                           Hon. Valerie Baker Fairbank
22                                                        Senior United States District Judge
23
24
25
26
27
28                                                 -2-
